       Case 2:11-cr-00027-WFN            ECF No. 168         filed 06/01/21     PageID.887 Page 1 of 3
 PROB 12C                                                                                Report Date: May 27, 2021
(6/16)
                                                                                                 FILED IN THE
                                       United States District Court                          U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICT OF WASHINGTON


                                                       for the
                                                                                         Jun 01, 2021
                                                                                            SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                Revised Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Randy Del McReynolds                      Case Number: 0980 2:11CR00027-WFN-1
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: May 14, 2013
 Original Offense:        Failure to Surrender for Service of Sentence, 18 U.S.C. § 3146 (a)(2)
 Original Sentence:       Prison - 15 months                 Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Michael James Austen Ellis        Date Supervision Commenced: June 22, 2018
 Defense Attorney:        Kent Neil Doll, Jr.               Date Supervision Expires: June 21, 2021


                                         PETITIONING THE COURT

Please Note: The original petition was filed with the Court on March 10, 2021. The purpose of this petition is
to reflect updated information in regard to violation number 5.

The probation officer believes that the offender has violated the following condition(s) of supervision:
Violation Number        Nature of Noncompliance

            1           Mandatory Condition #2: The defendant shall not commit another federal, state, or local
                        crime.

            2           Mandatory Condition #5: The defendant shall not possess a firearm, ammunition,
                        destructive device, or any other dangerous weapon.

                        Supporting Evidence: The offender is alleged to have violated mandatory conditions
                        number 2 and 5, by possessing a firearm on or about March 9, 2021.

                        On June 26, 2018, the offender’s conditions of supervision were reviewed and he signed said
                        conditions acknowledging he understood his requirements. Specifically, he was made aware
                        by the U.S. probation officer that he shall not commit another federal, state or local crime.
                        Further, he was made aware by the U.S. probation officer that he must not possess a firearm,
                        ammunition, destructive device, or dangerous weapon.

                        On March 9, 2021, the U.S. Probation Office conducted a search of the offender’s residence
                        with assistance from an agent with the Bureau of Alcohol, Tobacco, and Firearms. During
                        the execution of the search, officers discovered a Ruger GP100 revolver loaded with 6
                        rounds of ammunition located in a backpack in the offender’s bedroom closet.
     Case 2:11-cr-00027-WFN        ECF No. 168        filed 06/01/21       PageID.888 Page 2 of 3
Prob12C
Re: McReynolds, Randy Del
May 27, 2021
Page 2

          3      Mandatory Condition #2: The defendant shall not commit another Federal, state, or local
                 crime.

          4      Mandatory Condition #5: The defendant shall not possess a firearm, ammunition,
                 destructive device, or any other dangerous weapon.

                 Supporting Evidence: The offender is alleged to have violated mandatory conditions
                 number 2 and 5, by possessing ammunition on or about March 9, 2021.

                 On June 26, 2018, the offender’s conditions of supervision were reviewed and he signed said
                 conditions acknowledging he understood his requirements. Specifically, he was made
                 aware by the U.S. probation officer that he must not possess a firearm, ammunition,
                 destructive device, or any other dangerous weapon. Further, he was made aware that he
                 must not commit another federal, state, or local crime.

                 On March 9, 2021, the U.S. Probation Office conducted a search of the offender’s residence
                 with assistance from an agent with the Bureau of Alcohol, Tobacco, and Firearms. During
                 the execution of the search, officers located several rounds of ammunition in the offender’s
                 bedroom closet. Further, numerous additional rounds of ammunition were discovered in the
                 hallway closet of the residence.

                 As previously noted, a firearm containing 6 rounds of ammunition was also discovered in
                 the offender’s bedroom closet.

          5      Standard Condition #7: The defendant shall refrain from excessive use of alcohol and shall
                 not purchase, possess, use, distribute, or administer any controlled substance or any
                 paraphernalia related to any controlled substance, except as prescribed by a physician.

                 Supporting Evidence: The offender is alleged to have violated standard condition number
                 7, by possessing a controlled substance, methamphetamine, on or about March 9, 2021.
                 Further, it is alleged that he possessed paraphernalia related to the aforementioned controlled
                 substance on this same date.

                 On June 26, 2018, the offender’s conditions of supervision were reviewed and he signed said
                 conditions acknowledging he understood his requirements. Specifically, he was made aware
                 by the U.S. probation officer that he must not purchase, possess, use, distribute, or
                 administer any controlled substance or any paraphernalia related to any controlled
                 substances, except as prescribed be a physician.

                 On March 9, 2021, the U.S. Probation Office conducted a search of the offender’s residence
                 with assistance from an agent with the Bureau of Alcohol, Tobacco, and Firearms. During
                 the execution of the search, officers discovered a small tupperware container with a trace
                 amount of an unknown substance located in the offender’s bedroom dresser drawer.
                 Subsequently, a field test was conducted and the substance returned positive for
                 methamphetamine.

                 Additionally, officers found a digital scale and a syringe with approximately 70 units of an
                 unknown liquid located in a dresser drawer in the offender’s bedroom. The aforementioned
                 liquid was taken to the Washington State Patrol Crime Laboratory for further testing, and
                 it was determined to contain methamphetamine.
Case 2:11-cr-00027-WFN   ECF No. 168   filed 06/01/21   PageID.889 Page 3 of 3
